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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 UNITED STATES OF AMERICA,
                                              Criminal No. 17-cr-20274
             Plaintiff,
                                              Honorable Bernard A. Friedman
 v.

 D-2    FAKHRUDDIN ATTAR,                           VIO: 18 U.S.C. § 371
 D-3    FARIDA ATTAR,                               18 U.S.C. § 116
                                                    18 U.S.C. § 2
              Defendants.                           18 U.S.C. § 1512(k)

                                      /


        GOVERNMENT’S RESPONSE TO FAKHRUDDIN AND FARIDA
      ATTAR’S JOINT MOTION TO AMEND BOND CONDITIONS (R. 318)

        Defendants Fakhruddin and Farida Attar ask the Court to amend their bond

 conditions to allow: 1) Defendants to take their daughter, to and from school and

 court ordered therapy; 2) their daughter to have playdates at their home with other

 family members supervising the playdates, while the Defendants remain in their

 bedroom; 3) people to come to the outside of the home to take their daughter and

 grandparents places such as the mosque, the park, play dates, and grocery shopping;

 4) the internet and computers to be used by those residing in the Defendants home,

 including their daughter; and 5) expand the use of the internet by the Attar’s to

 communicate with counsel and engage in daily activities. The government opposes

 the Defendants motion. Pre-Trial Services also opposes the Defendants request.

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       As to the first modification, permission to take their daughter to and from

 school and court ordered therapy, the Attars fail to explain why this modification is

 necessary when, for the last 16 months – since the Attars were arrested - their

 daughter has been attending school or court ordered therapy without the assistance

 of either Defendant. To allow the Attars to provide this type of transportation to

 their daughter, would render no contact with community members unenforceable

 and makes home incarceration ineffective. While Pre-Trial services could monitor

 their GPS tether to ensure that they are simply going to the school or therapy

 sessions, it would be impossible to determine who the Attars are interacting with at

 either public location.

       The second and third proposed modifications request that non-family

 members be permitted inside or on the perimeter of the home. Again, granting this

 modification would make it impossible for Pre-Trial services to monitor who is

 entering or leaving the Defendants home. While both Defendants have a GPS tether,

 a GPS tether simply informs that the Defendants are inside the home. It will not

 distinguish whether the Defendants are in their bedroom at the time of a playdate or

 if anyone is in the bedroom with the Attars. Furthermore, Defendants fail to specify

 which “people” would wait in the driveway to take their daughter and her

 grandparents “places”. Defendants describe the mosque as one of the places that

 their daughter and her grandparents need to be taken to. If their daughter and her


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 grandparents need to be taken to the mosque, it is inevitable that the Attars would

 violate the condition requiring no contact with witnesses since this is a close-knit

 community and the mosque was the location where members of the community met

 once they learned that this investigation was taking place.

       Bond modifications four and five, would render the condition requiring that

 Defendants not access or use computers and the internet null and void. Since their

 arrest, the Defendants have been communicating with counsel without access to a

 computer or the use of the internet. Despite their lack of internet access, the

 Defendants, through their counsel and with the government’s consent, have filed

 eighteen stipulations modifying the bond conditions, many of which allowed for

 limited use of the internet or a computer. The government has worked closely with

 Defendants to give leeway in modifying this bond condition so that the Attars could

 engage in their personal affairs such as winding down their business and streaming

 various religious services throughout the year. Now, inexplicably Defendants claim

 internet access is needed so that their daughter can use it for school, to communicate

 with counsel and to conduct “daily activities.” Defendants fail to explain what

 specific “daily activities” require internet access and why they need to engage in

 these activities. To modify this bond condition, would not only render this condition

 meaningless, it would be impossible to monitor the Defendants compliance.




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            Accordingly, the government requests that the Court deny the Attars

 motion.

                                           Respectfully submitted,

                                           Matthew Schneider
                                           United States Attorney

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                           CERTIFICATE OF SERVICE


        I hereby certify that, on August 28, 2018, I electronically filed the foregoing
 document with the Clerk of the Court using the CM/ECF system, which will send
 notification of such filing to counsel of record who receive electronic notifications.


                                                      s/Leslie M. Anthony
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